                                       UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF MISSOURI
                                                   KANSAS CITY DIVISION

 UNITED STATES OF AMERICA                                                    §      JUDGMENT IN A CRIMINAL CASE
                                                                             §
 v.                                                                          §
                                                                             §      Case Number: 4:21-00101-01-CR-W-SRB
 KENDRA KINGSBURY                                                            §      USM Number: 46510-509
                                                                             §      William Ermine
                                                                             §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to Counts 1 and 2 on October 13, 2022.
 ☐ pleaded guilty to count(s) before a U.S. Magistrate Judge, which was accepted by the court.
 ☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                       Offense Ended    Count
 18 U.S.C. § 793(e) - Willful Retention of National Defense Information                                    12/15/2017       1
 18 U.S.C. § 793(e) - Willful Retention of National Defense Information                                    12/15/2017       2




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                      June 21, 2023
                                                                      Date of Imposition of Judgment




                                                                      /s/ Stephen R. Bough
                                                                      Signature of Judge

                                                                      STEPHEN R. BOUGH
                                                                      UNITED STATES DISTRICT JUDGE
                                                                      Name and Title of Judge

                                                                      June 21, 2023
                                                                      Date
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DEFENDANT:                KENDRA KINGSBURY
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                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
46 months as to each Counts 1 and 2; terms to run concurrently for a total term of 46 months. Defendant shall be placed on location
monitoring and GPS tracking until she self-surrenders.

 ☐ The court makes the following recommendations to the Bureau of Prisons:



 ☐ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐    a.m.        ☐    p.m.       on

          ☐ as notified by the United States Marshal.

 ☒ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☒ before 2 p.m. on July 21, 2023.
          ☐ as notified by the United States Marshal.
          ☒ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                   to ____________________________________


at                                     , with a certified copy of this judgment.




                                                                                         UNITED STATES MARSHAL

                                                                                   By _______________________________
                                                                                      DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                KENDRA KINGSBURY
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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : three (3) years as to each Counts 1
and 2; terms to run concurrently.



                                           MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5.   X    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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                                 SPECIAL CONDITIONS OF SUPERVISION


    a) The defendant shall successfully participate in any mental health counseling program, which shall
       include anger management as a component, as approved by the Probation Office, and pay any associated
       costs, as directed by the Probation Office.

    b) The defendant shall submit her person and any property, house, residence, office, vehicle, papers,
       computer, other electronic communication or data storage devices or media and effects to a search
       conducted by a U.S. Probation Officer at a reasonable time and in a reasonable manner, based upon
       reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
       to a search may be grounds for revocation; the defendant shall warn any other residents that the premise
       may be subject to searches pursuant to this condition.

    c) The defendant shall comply with the Western District of Missouri Offender Employment Guideline
       which may include participation in training, counseling, and/or daily job searching as directed by the
       probation officer. If not in compliance with the condition of supervision requiring full-time employment
       at a lawful occupation, the defendant may be required to perform up to 20 hours of community service
       per week until employed, as approved or directed by the probation officer.




                                  ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have been provided a
copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.




_______________________________________               ____________________
Defendant                                                Date

________________________________________              ____________________
United States Probation Officer                        Date
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                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           AVAA                  Assessment JVTA Assessment*                       Fine                                   Restitution
                     Assessment*
 TOTALS                                             $200.00                                         $.00                                          $.00


          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

        ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 1 and 2 ,
              which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
